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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________
JASON KAHAN; 72 DANA STREET, LLC )
74-76 DANA STREET, LLC              )
                                    )
            Plaintiffs,             )
                                    )
v.                                  )    22-cv-12038-FDS
                                    )
QUANTA FINANCE, LLC,                )
                                    )
            Defendant.              )
___________________________________ )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(1)(A)(ii), the Parties in the above-referenced matter hereby

stipulate that the above-captioned action shall be dismissed with prejudice, and that each party

shall be responsible for his/its own attorneys’ fees, costs, and other expenses.

Respectfully submitted,



 JASON KAHAN, 72 DANA STREET LLC                   QUANTA FINANCE, LLC
 and 74-76 DANA STREET LLC,                        By its attorneys,
 By their attorneys,



 _/s/ Peter B. Morin _____________                 __/s/ Michael R. Stanley ________
 Michael W. Ford (BBO # 644807)                    Joseph L. Demeo, BBO No. 561254
 Peter B. Morin (BBO #355155)                      Michael R. Stanley, BBO No. 680957
 Ryan M. Gazda (BBO # 693573)                      Demeo LLP
 FORD LAW P.C.                                     66 Long Wharf
 245 Sumner Street, Suite 110                      Boston, Massachusetts 02110
 East Boston, MA 02128                             mstanley@demeo LLP.com
 Tel: 617-328-3400, Ext. 101                       617-263-2300
 mford@fordlawpc.com
 pmorin@fordlawpc.com
